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                 IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF MINNESOTA

 CHRISTOPHER KOHLS and MARY
 FRANSON,
                        Plaintiffs,



                      v.                          Civil Action No. 0:24-cv-3754- ECT-
                                                  DLM

 KEITH ELLISON, in his official capacity
 as Attorney General of Minnesota, and
 CHAD LARSON, in his official capacity
 as County Attorney of Douglas County,
                              Defendants.



            PLAINTIFFS’ MEMORANDUM OF LAW IN SUPPORT
            OF MOTION FOR A PRELIMINARY INJUNCTION —
               EXPEDITED CONSIDERATION REQUESTED

      Imagine a Saturday Night Live sketch. It starts with a “cold open,” showing

a facsimile title card and other visual trappings from a news show, C-SPAN

broadcast, debate, or advertisement. Actors, in makeup and doing their best

impersonations, skewer the mannerisms of politicians, espousing over-the-top

caricatures of their foibles and political positions.

      This sort of production is now illegal—criminal!—in Minnesota, when

producers use artificial intelligence (AI) tools to execute their spoof.
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      Americans have freely satirized politicians—using hyperbole, imitation,

gesticulation, and parody, amongst other means—since before this country was

founded. State crackdowns on AI-generated content within this tradition—like the

law at issue in this case—violate the First Amendment and should be enjoined.

      Plaintiff Christopher Kohls is a political content creator who has found

limited fame and steady income creating videos that poke fun at politicians he

opposes politically, including Vice President Kamala Harris, the Democratic

nominee for President. Kohls posts parody videos to his accounts on YouTube and

X (formerly known as Twitter), where viewers can watch satires of “Harris”

announcing outrageous policies and arguments for her candidacy (in an AI-

generated voice) in the aesthetic of a political campaign ads. Separately, Plaintiff

Mary Franson—a Minnesota State Legislator—has shared memes and satire,

including AI-generated content on X, to communicate politically with her

constituents and others around the State. She has shared one of Kohls’s Harris

videos on her own X account, along with other absurdist or satirical AI-generated

election-related content—and wants to continue doing so in the future.

      Kohls’s first Harris video, posted on July 26, 2024, went viral: Elon Musk

shared the video and commented that “This is amazing �,” leading to more than

one hundred million views. Complaint ¶ 8. Minnesota’s Senator Amy Klobuchar

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was not so supportive, tweeting that the video was a violation of “X’s own rules”

which bans “media that is significantly and deceptively altered, manipulated or

fabricated” or “likely to result in widespread confusion on public issues.” Id. ¶ 75.

California   Governor     Gavin    Newsom       went    further,    commenting      that

“Manipulating a voice in an ‘ad’ like this one should be illegal. I’ll be signing a bill

in a matter of weeks to make sure it is.” Complaint ¶ 8. Newsom and the California

Legislature followed through on this threat, passing two bills to make Kohls’s

video illegal. Kohls separately challenges those laws in California federal court,

which granted him a preliminary injunction against AB 2839 last week. See Kohls

v. Bonta, No. 2:24-cv-02527 JAM-CKD, 2024 WL 4374134, 2024 U.S. Dist. LEXIS

179933 (E.D. Cal. Oct. 2, 2024). “‘[W]hatever the challenges of applying the

Constitution to ever-advancing technology, the basic principles’ of the First

Amendment ‘do not vary’ and Courts must ensure that speech, especially political

or electoral speech, is not censored for its ideas, subject matter, or content.” Id. at

*24-*25 (quoting Brown v. Entertainment Merchants Ass’n, 564 U.S. 786, 790 (2011)).

      This Court should reach the same conclusion with Minn. Stat. § 609.771,

which is even more sweeping and punitive than the statute enjoined in Kohls.

Section 609.771 proscribes the mere “dissemination” of AI-generated election-

related videos and memes that “influence an election.” Unlike the California laws,

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which provide for only equitable and injunctive relief, § 609.771 also carries

criminal penalties and—for candidates like Franson—a conviction results in

forfeiture of their election and permanent ineligibility for future state office.

         The Supreme Court has clarified that alleged misinformation in the eyes of

the state—oftentimes mere political commentary to the public (and sometimes

nevertheless truthful)—is fully protected speech unless it causes a “legally

cognizable harm” to the interests of another, which is not the case with Plaintiffs’

memes and videos. United States v. Alvarez, 567 U.S. 709, 719 (2012); see generally

Eugene Volokh, When are Lies Constitutionally Protected, 4 J. FREE SPEECH L. 685

(2024). 1 Laws targeting political deepfakes “implicate[] none of the legally

cognizable harms recognized by Alvarez and thereby unconstitutionally suppress[]

broader areas of false but protected speech.” Kohls, 2024 U.S. Dist. LEXIS 179933,

at *11. Indeed, “[t]he political context is one such setting that would especially

‘perilous’ for the government to be an arbiter of truth in.” Id. at *15. This Circuit

has recognized the same. 281 Care Comm. v. Arneson, 766 F.3d 774, 784-87 (8th Cir.

2014).




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             Available at: https://www.journaloffreespeechlaw.org/volokh5.pdf.

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      Strict scrutiny applies to restrictions of speech based on content, and

§ 609.771 cannot survive such scrutiny; it criminalizes protected speech, and does

so using vague and overbroad terms. The fear of digitally-assisted fakes “does not

give legislators unbridled license to bulldoze over the longstanding tradition of

critique, parody, and satire protected by the First Amendment.” Kohls, 2024 U.S.

Dist. LEXIS 179933, at *14.

      Accordingly, the Court should grant Plaintiffs’ request for preliminary

injunction on an expedited basis.


                              STATEMENT OF FACTS

      Plaintiff Mary Franson is a Minnesota State Representative from District

12B. She has mastered the art of using social media—and especially her personal

X account (@RepMaryFranson)—to communicate with her constituents and

political supporters throughout the country, often using memes. Memes are

graphics and videos with absurdist or humorous annotations which convey a

political message. Many memes today—including those shared by Representative

Franson—are generated by artificial intelligence (AI), meaning the imagery or

sound appears real but it is actually produced by an algorithm. Political

commentators find memes especially effective for mocking politicians and

spreading political messages. For example, on September 16, Rep. Franson

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retweeted a response to an image by the Babylon Bee, a satire account, captioned

“Oh No! Tim Walz Just Waved So Hard His Arms Flew Off!” Complaint ¶ 5. The

accompanying image features the likeness of Gov. Walz at a political rally, except

his forearms have flown off their bones. Id. As an evidently more controversial

example, on July 27, Rep. Franson retweeted X’s owner, Elon Musk, who posted a

video in the style of a campaign ad for Vice President Kamala Harris with the

comment “This is amazing �.” Id. A voice that sounds like Kamala Harris

narrates the “ad,” and it says outlandish things like “Joe taught me rule number

one: carefully hide your total incompetence.” In fact, Harris never said this. The

voiceover was generated to create a parody lampooning the candidate’s political

weaknesses. Id.

      The creator of the Harris video that Franson shared is Plaintiff Christopher

Kohls, who posts AI-generated content on both YouTube and X using the moniker

“Mr Reagan USA.” He has roughly 120,000 followers on X and 380,000 subscribers

on YouTube who automatically receive his content, including in Minnesota.

      Commentators have found the July 26 video deceptive. For example, news

organizations issued “fact-checks” for the video, explaining that Kamala Harris

did not actually speak the narration of the parody. Id. ¶ 73. Rob Weissman, co-

president of the advocacy group Public Citizen opined that “most people” would

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be deceived by the video. “I’m certain that most people looking at it don’t assume

it’s a joke…precisely because it feeds into preexisting themes that have circulated

around her, most people will believe it to be real.” Id. ¶ 74 (emphasis added). U.S.

Senator Amy Klobuchar echoed this sentiment, tweeting about the July 26 video

posted by Musk: “If @elonmusk and X let this go and don’t label it as altered AI

content, they will not only be violating X’s own rules, they’ll be unleashing an

entire election season of fake AI voice and image-altered content with no limits,

regardless of party.” Id. ¶ 75. Sen. Klobuchar attached a link to a news story

suggesting that Musk’s tweet of the July 26 video violated X’s policy on synthetic

and manipulated media. That policy resembles § 609.771 because it applies to

“misleading media” which includes “media that is significantly and deceptively

altered, manipulated or fabricated” or “likely to result in widespread confusion

on public issues.” Complaint ¶ 75.

      California Governor Gavin Newsom responded on X that “Manipulating a

voice in an ‘ad’ like this one should be illegal. I’ll be signing a bill in a matter of

weeks to make sure it is.” Newsom did just that, approving two bills passed by

implicating Kohls’s content; Kohls is separately challenging those laws in the

Eastern District of California. Newsom responded to Kohls’s suit by characterizing

the video as a “misleading deepfake in the middle of an election.” Complaint ¶ 72.

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The district court granted Kohls’s motion to enjoin California officials from

enforcing California’s AB 2839, which it found “acts as a hammer instead of a

scalpel, serving as a blunt tool that hinders humorous expression and

unconstitutionally stifles the free and unfettered exchange of ideas which is so

vital to American democratic debate.” Kohls, No. 2:24-cv-02527 JAM-CKD, 2024

U.S. Dist. LEXIS 179933, at *24. 2

      Unfortunately for Rep. Franson, perhaps the most egregious crackdown on

AI-generated political memes comes exists in Minnesota. Under Minn. Stat.

§ 609.771, the State attaches criminal penalties and—for political candidates—

electoral forfeiture and disqualification for the mere dissemination of certain AI-

generated political content that “influence[s] an election.” Plaintiffs bring this suit

to challenge that statute.

      Section 609.771 was originally passed in 2023 sandwiched in a near-

unanimous legislative package, HF 1370, aimed at deterring tortious AI-generated

revenge porn. The original bill criminalized the “dissemina[tion]”—not only the

creation—of a “deep fake” so long as it was (1) within “90 days before an election”;

(2) created without a candidate’s consent; and (3) “made with the intent to injure



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       The other California bill does not become effective until January 1, 2025, so
was not subject of Kohls’s motion.

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a candidate or influence the result of an election.” Minn. Stat. § 609.771 subd. 2

(2023). 3 In addition, the law carried criminal penalties—including jail time and

fines—and authorized the speaker’s political adversaries to sue for injunctive

relief. § 609.771 subd. 3 & 4. Despite the original bill’s plain constitutional flaws,

Franson voted for it—she could not, as an ardent supporter of women, vote against

the cumulative legislation up for vote when it provided substantial revenge porn

protections. Complaint ¶ 54.

      Nevertheless, in 2024 Minnesota legislators aligned with the Democratic-

Farmer-Labor Party decided to revise § 609.771 in a way that uniquely harms

Plaintiff Franson. This revised bill, HF 4772, passed largely on party lines: In

addition to the existing criminal penalties, the amended § 609.771 requires courts

to declare that any state or local candidate found to have disseminated an AI-

generated “deep fake” in violation of the statute has forfeited her election. Minn.

Stat. § 609.771 subd. 3(b). Further, that candidate is disqualified from running for

state or local office again in Minnesota. Id. subd. 3(c). The amended statute also



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       A “deep fake” is video, image, or photograph that (1) “is so realistic that a
reasonable person would believe it depicts speech or conduct of an individual who
did not in fact engage in such speech or conduct”; and, (2) “the production of
which was substantially dependent upon technical means, rather than the ability
of another individual to physically or verbally impersonate such individual.”
Minn. Stat. § 609.771 subd. 1(c).

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added the possibility of “equitable,” in addition to “injunctive,” relief (id. subd. 4),

and it expands § 609.771’s temporal reach to AI-generated videos made “within 90

days before a political party nominating convention” or, “after the start of the

absentee voting period prior to a presidential nomination primary, or a regular or

special state or local primary or general election.” Id. subd. 2(a)(3). Finally, the bill

changed the mens rea required for liability to “knowing[ly]” or with “reckless

disregard,” Minn. Stat. § 609.771 subd. 2(a), rather than the “knows or reasonably

should know” standard originally enacted. This change is irrelevant to both

Plaintiffs, who have disseminated and wish to continue disseminating AI-

generated election content knowingly. Complaint ¶ 35. Franson voted against

HF 4772. Id. ¶ 60.

      The amended § 609.771 went into effect on July 1, 2024, meaning all of

Kohls’s Harris videos and plenty of Franson’s tweets—including her retweet of

the July 26 video—fall within the scope of the law. Defendants remain charged

with enforcing the law, either through its criminal penalties or civil injunctive and

equitable relief.

      Section 609.771 puts both Plaintiffs in the crosshairs for their dissemination

of AI-generated election content in Minnesota. And because of the law, both

Plaintiffs are irreparably harmed: Kohls’s creation of Harris videos and Franson’s

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regular use of X to share conservative memes—including Kohls’s—means both

Plaintiffs are open to criminal liability for their acts. Kohls’s videos are at risk of

being taken down under § 609.771’s injunctive penalties, as are Franson’s retweets.

For Kohls—who makes a living by monetizing his videos—his livelihood is

materially impacted. And so is Franson’s eligibility as a political candidate and

state representative, because of § 609.771’s prohibition on holding political office

for candidates convicted of disseminating AI-generated election-related content.

The law will also deter similar content from being generated and shared by

others—some of which Kohls and Franson want to consume and share. Most

importantly, because it opens speakers to criminal and other liability, § 609.771

chills both Plaintiffs’ ability to share their own political message.

       Accordingly, they bring suit together to enjoin § 609.771’s enforcement.


                                 LEGAL STANDARD

       Four factors determine whether injunctive relief is warranted: (1) whether

the plaintiff is likely to succeed in the litigation; (2) whether the plaintiff will suffer

irreparable harm absent the injunction; (3) the balance of equities; and (4) the

public interest in an injunction. Rodgers v. Bryant, 942 F.3d 451, 455 (8th Cir. 2019).

In the context of a First Amendment claim, the test generally turns on the first

factor, which is “the most important.” Jones v. Jegley, 947 F.3d 1100, 1105 (8th Cir.

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2020). Where plaintiffs have ”established that the law likely violates the First

Amendment,” the three remaining factors are generally satisfied as well. Rodgers,

942 F.3d at 457 (internal citation omitted); accord Phelps-Roper v. Nixon, 545 F.3d

685, 690 (8th Cir. 2008) (similar). Likewise, “it is always in the public interest to

prevent the violation of a party’s constitutional rights.” Goyette v. City of

Minneapolis, 338 F.R.D. 109, 120 (D. Minn. 2021)).

      To determine whether a First Amendment plaintiff can demonstrate a

likelihood of success, the plaintiff must make a colorable claim that she seeks to

engage in protected activity, at which point the burden shifts to the state to

“establish” that the speech restriction satisfies the relevant standard of scrutiny.

Rodgers, 942 F.3d at 456; accord Jones, 947 F.3d at 1105-06 (affirming conclusion of

probable success). Because the speech at issue is political commentary—and thus

“occupies the core of the protection offered by the First Amendment”—strict

scrutiny applies to any state justification. 281 Care Comm., 766 F.3d at 784. This

means the state bears the burden to demonstrate that the law “is narrowly tailored

to meet a compelling government interest.” Id. at 785. Among other things, it must

show that the law is the “least restrictive alternative” for advancing its interests.

Id. at 789, 793-94; Kohls, 2024 U.S. Dist. LEXIS 179933, at *13-*15 (holding that

California’s political deepfake law failed this requirement).

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      Finally, because of “the haste that is often necessary” to prevent irreparable

injury, preliminary injunction “procedures” are “customarily” “less formal” and

“evidence” “less complete than in a trial on the merits.” Univ. of Tex. v. Camenisch,

451 U.S. 390, 395 (1981). A court may rely on the verified complaint’s averments

or other affidavits as evidence. Doe v. S. Iron R-1 Sch. Dist., 498 F.3d 878, 880 (8th

Cir. 2007) (verified complaint); Movie Sys., Inc. v. MAD Minneapolis Audio Distribs.,

717 F.2d 427, 432 (8th Cir. 1983) (declaration).


                                    ARGUMENT

      Section 609.771 is an unconstitutional attempt to regulate the use of AI-

generated political commentary. The State lacks any valid interest in regulating

the truthfulness of the populace’s political discussions, and its attempt to do so

here by simply barring an entire means of political speech (AI-generated memes)

is not narrowly tailored. Separately, § 609.771 unlawfully regulates Plaintiffs’

speech based on content and viewpoint by only proscribing memes and videos

which (1) are made without the consent of a candidate and (2) are “made with the

intent to injure a candidate or influence the result of an election.” Finally, because

it fails to adequately define certain material phrases in the statute, § 609.771 is both

vague and overbroad in violation of the Fourteenth Amendment. Any of these




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three fatal flaws means that Plaintiffs are likely to win on the merits of their

constitutional claims.

       Moreover, Plaintiffs satisfy the remaining requirements to win injunctive

relief from this Court. They are irreparably harmed by § 609.771: Their speech is

threatened by the law’s penalties, they are likely to suffer legal and financial harm

if they continue to “meme” as usual, Franson risks election disqualification and

permanent ineligibility for state office, and they cannot participate lawfully and

fully in the political process as commentator or candidate. The public interest in

an injunction is strong: In addition to Plaintiffs, § 609.771 also deters third parties

from making their own AI-generated political commentary, and resharing Kohls’

and Franson’s posts. Finally, there is always a public interest in preventing the

violation of political rights. In contrast, the State’s interest in cracking down on AI-

generated election-related memes is invalid; the antidote to such an issue—if

needed at all—is for the State to engage in its own counterspeech.


 I.    Plaintiffs have Article III standing to bring suit to enjoin § 609.771.

       “When an individual is subject to [the] threat” of a law’s enforcement, an

“actual arrest, prosecution, or other enforcement action is not a prerequisite to

challenging the law.” Susan B. Anthony List v. Driehaus, 573 U.S. 149, 158 (2014).




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Kohls does not have to wait until he is arrested for violating § 609.771; Franson

does not have to wait until she is disqualified from holding political office.

       In First Amendment cases, the threshold for standing is “lenient” and

“forgiving.” Dakotans For Health v. Noem, 52 F.4th 381, 386 (8th Cir. 2022) (internal

quotation omitted); accord Upper Midwest Booksellers Ass’n v. Minneapolis, 780 F.2d

1389, 1391 n.5 (8th Cir. 1985) (“relaxed”). To establish standing, Plaintiffs must

show (1) they intend to or do engage in conduct “affected with a constitutional

interest” (2) that is “arguably proscribed” by the challenged law, and (3) there

exists a “credible threat of enforcement.” Parents Defending Education v. Linn Mar

Cmty. Sch. Dist., 83 F.4th 658 (8th Cir. 2023) (following SBA List). Both Plaintiffs

satisfy the test.

       First, Plaintiffs want to continue generating (for Kohls), consuming (for

both), and sharing (for both) AI-generated election-related content on the internet

now and in the future heading into the 2024 election, consistent with their past

behavior. Social-media posting carries constitutional significance. E.g., Packingham

v. North Carolina, 582 U.S. 98, 104 (2017) (identifying social-media websites as

today’s “most important places…for the exchange of views”).

       Second, this activity is arguably proscribed by § 609.771, because Kohls’s and

others’ videos retweeted by Plaintiffs may be “so realistic that a reasonable person

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would believe it depicts speech” made by the video’s target; and, (2) their

“production…[plausibly is] substantially dependent upon technical means.”

Minn. Stat. § 609.771 subd. 1 (2023). Gavin Newsom believed as much. Complaint

¶¶ 8, 72. As did Senator Klobuchar. Complaint ¶¶ 74-75. Indeed, because Kohls

produced his video using such a realistic voice, multiple fact checkers felt the need

to address it. Complaint ¶ 73. The vagueness of § 609.771’s prohibition—turning

on whether the video is believably “realistic” or not to the reasonable person—

means that Plaintiffs’ activity is at least “arguably proscribed.” See Parents

Defending Educ., 83 F.4th at 667. “Arguably proscribed” is the test of SBA List; not

“certainly proscribed,” “definitely proscribed,” or even just “proscribed.” Animal

Legal Def. Fund v. Vaught, 8 F.4th 714, 718-19 (8th Cir. 2021); Turtle Island Foods, SPC

v. Thompson, 992 F.3d 694, 699-700 (8th Cir. 2021).

      Section 609.771 casts an objective chilling effect on Plaintiffs, discouraging

them from making, distributing, and consuming the political content that they

wish. It threatens the direct imposition of criminal liability, risks sanctions or

removal from platforms, and—for Franson—could result in forfeiture of her office

and the ability to run in future elections. Moreover, the law chills others from

creating content that Kohls and Franson would otherwise want to consume and

share via retweet, and it deters others from resharing Kohls’s and Franson’s posts.

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Thus, there are two separate avenues for standing to challenge § 609.771 based on

Plaintiffs’ future speech.

      Plaintiffs’ past activity is also arguably proscribed AI-generated political

speech, specifically the creation and sharing of videos like Kohls’s. Because

§ 609.771 took effect on July 1 and both Kohls’s Harris video and Franson’s sharing

of it occurred after that date, the Plaintiffs face existing criminal liability under the

statute. Kohls’s video remains on X and YouTube, as does Franson’s retweet of it

on X. Courts presume new legislation will be enforced, and pre-enforcement

challenges are standard in the First Amendment context when a speaker is

“forc[ed]…to choose between refraining from core political speech on the one

hand, or engaging in that speech and risking costly [] proceedings and criminal

prosecution on the other.” 281 Care Committee, 766 F.3d at 782 (quoting SBA List,

573 U.S. at 168).

      Third, Plaintiffs satisfy the “credible threat of enforcement” prong. “When

dealing with pre-enforcement challenges to recently enacted…statutes that

facially restrict expressive activity by the class to which the plaintiff belongs,

courts will assume a credible threat of prosecution in the absence of compelling

contrary evidence.” St. Paul Area Chamber of Commerce v. Gaertner, 439 F.3d 481, 486

(8th Cir. 2006) (internal quotation omitted). When a statute or policy is new and

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there is “no established practice of nonenforcement that could assuage concerns,”

the “plain text” of the law supplies the necessary credible threat of enforcement.

Parents Defending Educ., 83 F.4th at 667; see also Alexis Bailly Vineyard, Inc. v.

Harrington, 931 F.3d 774, 778 (8th Cir. 2019).


II.    Plaintiffs are very likely to win their constitutional claims that § 609.771
       violates the First and Fourteenth Amendments to the U.S. Constitution
       and the Minnesota Constitution’s analogous free-speech protections.

       For three independent reasons, Plaintiffs’ constitutional claims are likely to

succeed. First, § 609.771 unconstitutionally discriminates against political speech

based on content and viewpoint. Second, the State has no interest in preventing

the videos at issue (or any AI-generated content) about political candidates. Third,

§ 609.771 suffers from vagueness fatal to the regulation of core political speech.


       A.    Section 609.771 is an unconstitutional content-based                 and
             viewpoint-discriminatory regulation of political speech.

       Content-based regulations, which target speech based on its topic, idea, or

message, are “presumptively invalid.” R.A.V. v. St. Paul, 505 U.S. 377, 382 (1992).

A law is content-based if it “draws distinctions based on the message a speaker

conveys” through either “subject matter,” “function[,] or purpose.” Reed v. Town

of Gilbert, 576 U.S. 155, 163 (2015). In other words, if “enforcement authorities

[need] to examine the content of the message that is conveyed to determine


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whether a violation has occurred,” then the law is facially content-based and

presumptively unconstitutional. McCullen v. Coakley, 573 U.S. 464, 479 (2014)

(cleaned up). This is especially so for laws like § 609.771 which target political

speech, since this type of speech is the most protected form of expression under

the First Amendment. 281 Care Committee, 766 F.3d at 784; see also Victory

Processing, LLC v. Fox, 937 F.3d 1218, 1223 (9th Cir. 2019) (laws that single out

political speech for disfavored treatment “strike[] at the heart of the First

Amendment”).

      Viewpoint discrimination constitutes a more “egregious” and “blatant”

offense to the First Amendment than does an ordinary content-based restriction.

Reed, 576 U.S. at 156. Viewpoint discrimination is “uniquely harmful to a free and

democratic society.” Nat’l Rifle Ass’n v. Vullo, 602 U.S. 175, 187 (2024). Thus, if a

law is “viewpoint-based, it is unconstitutional.” Iancu v. Brunetti, 588 U.S. 388, 393

(2019); accord Minn. Voters Alliance v. Mansky, 585 U.S. 1, 11 (2018) (“prohibited”);

Matal v. Tam, 582 U.S. 218, 243 (2017) (“forbidden”).

      “At its most basic, the test for viewpoint discrimination is whether—within the

relevant subject category—the government has singled out a subset of messages for

disfavor based on the views expressed.” Matal, 582 U.S. at 248 (Kennedy, J., concurring).

For example, a rule that prohibits denigrating—but not laudatory—speech about certain

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characteristics discriminates based on viewpoint by prohibiting only one perspective on

a given subject. See id.

       Section 609.771 bars specific types of AI-generated content and viewpoint:

that which is (1) “so realistic that a reasonable person would believe it depicts

speech or conduct of an individual who did not in fact engage in such speech or

conduct,” (2) “made with the intent to injure a candidate or influence the result of

an election,” and (3) that is created without a candidate’s consent. Subd. 1(c)(1);

subd. 2(2)-(3). Each element independently regulates content, and the latter two

are also unconstitutional viewpoint regulations.

       The first two requirements—that the content is realistic and made with the

intent to injure a candidate or influence an election—target speech based on “the

topic discussed or the idea or message expressed,” Willson v. City of Bel-Nor, 924

F.3d 995, 1000 (8th Cir. 2019) (quoting Reed, 576 U.S. at 163). This makes it

“presumptively unconstitutional” as a content regulation. Id. (quoting Reed, 576

U.S. at 163); accord R.A.V., 505 U.S. at 382 (“presumptively invalid”). Section

609.771’s focus on election-related truthfulness makes the Eighth Circuit’s decision

in 281 Care Committee doubly applicable: There, the court rejected Minnesota’s

attempt to “regulat[e] falsity in the political realm” by criminalizing the

dissemination of false information about ballot questions. 281 Care Committee, 766

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F.3d at 778, 787. This is because “when these preservation goals” to protect the

integrity of elections “are achieved at the expense of public discourse, they become

problematic.” Id. at 786. Just like in 281 Care Committee, Minnesota’s attempt to

“enhance[e] the ability of its citizenry to make wise decisions by restricting the

flow of information to them” “must be viewed with some skepticism,” to put it

lightly. Id. (quoting Eu v. San Francisco Cnty. Democratic Cent. Comm., 489 U.S. 214,

228 (1989)). Just because Plaintiffs could hypothetically spread the same political

message without AI-generated memes and videos does not preserve the statute;

the medium for speech is part-and-parcel of analyzing whether a law is an invalid

content regulation. Pursuing America’s Greatness v. FEC, 831 F.3d 500, 510 (D.C. Cir.

2016) (“whether a burden on speech leaves open alternative means of expression

does not factor into whether a speech ban is content based.”).

      The second and third elements—the (2) intent to injure a candidate or

influence the result of an election and (3) that the content be made without a

candidate’s consent—are not merely content regulations: they discriminate based

on viewpoint.     Both unlawfully proscribe speech based on the “message

expressed,” i.e., by asking what the intended electoral effect of content is and

whether the candidate at issue approves of it. Willson, 924 F.3d at 1000. The second

element privileges speech intended to ossify existing voting patterns over speech

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intended to alter voting patterns. The third element prohibits negative political

commentary toward the candidate depicted, while allowing positive or laudatory

commentary. Dictating the perspective of the speaker is viewpoint discrimination.

Matal; Speech First.

      The third element also creates a nonsensical asymmetry for electoral speech:

Under § 609.771 a candidate (or her supporters) is free to use AI-generated content

to boost their own campaign, while the common man is barred from criticizing that

same candidate using the same medium. Excluding deepfakes that support, and

thus are consented to by a candidate, not only makes the statute unconstitutionally

underinclusive, 4 it is fundamentally antithetical to its claimed objective: § 609.771

privileges candidate misinformation with a safe harbor for candidate consent: AI-

deepfakes for me, but not thee.

      In the end, the First Amendment protects the right of all citizens “to debate

so they can learn and decide and then, through the political process, act in concert

to try to shape the course of their own times.” Schuette v. Coalition to Defend

Affirmative Action, 572 U.S. 291, 312 (2014). Section 609.771 precludes the public’s

full participation in the “political process,” id., while preserving the same




      4
          E.g., 281 Care Committee, 766 F.3d at 794.

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messaging mediums for establishment politicians. This type of arbitrary,

underinclusive, even counterproductive line drawing is unconstitutional.

Grimmett v. Freeman, 59 F.4th 689, 694-96 (4th Cir. 2023) (following R.A.V.).

      As a viewpoint-discriminatory restriction of speech, § 609.771 is per se

unconstitutional.   As    a   content-based      restriction,   it   is   presumptively

unconstitutional, and as discussed in the next section, cannot satisfy strict scrutiny.


      B.     The State has no cognizable interest in preventing AI-generated
             political content about politicians or election issues.

      The Supreme Court “has recognized only one permissible ground for

restricting political speech: the prevention of ‘quid pro quo’ corruption or its

appearance.” FEC v. Ted Cruz for Senate, 596 U.S. 289, 305 (2022); accord Texans for

Free Enter. v. Tex. Ethics Comm’n, 732 F.3d 535, 537 (5th Cir. 2013) (discussing

Citizens United v. Federal Election Comm’n, 558 U.S. 310, 365 (2010)). It has

“consistently rejected attempts to restrict campaign speech based on other

legislative aims” because, “[h]owever well intentioned,” they would “tamper with

the right of citizens to choose who shall govern them.” Ted Cruz for Senate, 596 U.S.

at 305-06 (internal quotation omitted).

      The plain text and statutory aim of § 609.771 is not the prevention of ‘quid

pro quo’ corruption or the appearance thereof. Instead, it targets individuals’


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political speech for the purpose of trying to promote accurate portrayals of

candidates’ acts and words during election season, hence its focus on “deepfakes.”

House debate over HF 1370 illustrates this purpose. Rep. Neu Brindley moved to

amend it to exclude still images because “it is difficult to infer speech or conduct

when it comes to an image.” 5 Sponsor Rep. Stephenson did not deny that the bill

sought to outlaw inaccurate portrayals of candidates’ “speech or conduct,” and

instead argued against the amendment that still images could also imply false

events. He cited a “still image deepfake” of a “former president of the United

States being arrested…and that did not happen…and some of those images could

be construed by a voter to be authentic.” 6 He asked members to imagine such

images mailed to voters a week before the election “without any opportunity to

redress.” 7




       5
         MNHouseInfo, House Floor Session 3/30/23, YOUTUBE (at 1:13:20)
https://www.youtube.com/watch?v=OyAZkqMGgMQ&t=4420s.
       6
        Supra n.5 (at 1:21:10), https://youtu.be/OyAZkqMGgMQ?t=4870s. Rep.
Stephenson apparently referred to AI-generated images of Trump being arrested,
which were posted ten days before this floor session with the comment “Making
pictures of Trump getting arrested while waiting for Trump’s arrest.” Complaint
¶ 43.
       7
           Supra n.5 (at 1:21:41), https://youtu.be/OyAZkqMGgMQ?t=4901s.

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      However utopian an electoral season without misinformation would be, the

State cannot justify prescribing orthodoxy in the realm of political truth—this is a

timeless constitutional principle. 281 Care Committee, 766 F.3d at 786-87; Kohls, 2024

U.S. Dist. LEXIS 179933, at *13 (“If there be time to expose through discussion the

falsehood and fallacies, to avert the evil by the processes of education, the remedy

to be applied is more speech, not enforced silence”) (quoting Whitney v. California,

274 U.S. 357, 377 (1927); Alvarez, 567 U.S. 709. Because § 609.771 regulates political

speech for a different reason than avoiding corruption, it is unconstitutional.

      This is not to say that states have no valid interest in protecting the integrity

and reliability of the electoral process. They do. See, e.g., Crawford v. Marion Cnty.

Election Bd., 553 U.S. 181, 204 (2008). Specifically, states have an interest in speech

that frustrates the operation of elections (and therefore jeopardizes voters’ rights

to cast their votes). Defendants may be inclined to cite Minnesota Voters Alliance v.

Ellison, No. 23‐CV‐2774 (NEB/TNL), Dkt. 53, 2024 WL 4222829, 2024 U.S. Dist.

LEXIS 170296 (D. Minn. 2024), as support for the proposition that the State has a

valid interest in regulating political “deep fakes.” That would be error. In

Minnesota Voters, Judge Brasel upheld a law which she wrote “prohibits making

materially false statements with the intent to prevent someone from voting.” That

statute targeted “speech about who is eligible to vote,” which to Judge Brasel is a

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voting mechanics issue, “rather than who should be eligible to vote,” which is

unquestionably a political issue. 2024 U.S. Dist. LEXIS 170296, at *8 n.6. It did not

involve “core political speech…about political candidates” (id.) like § 609.771

does. 8

          As Minnesota Voters readily admits, laws like § 609.771 which target “false

information about a political candidate” and “prohibit robust debate” are subject

to strict scrutiny and the First Amendment’s most rigorous protection. 2024 U.S.

Dist. LEXIS 170296, at *10 & n.8. Cases like 281 Care Committee—which Judge

Brasel found inapplicable to Minnesota Voters—are binding precedent here.

          The state’s interest in securing elections has no application to political

speech that does not hinder the mechanics of the election like Plaintiffs’ videos and

memes. See, e.g., Ted Cruz for Senate. In other words, § 609.771 has no tailoring to




          8
        It is quite conceivable that the Court here could have come to a different
conclusion on the speech code challenged in Minnesota Voters. Those plaintiffs
want to speak about whether Minnesota’s felon-voting law actually restored
voting rights consistent with the Minnesota Constitution. See id. Felon voting prior
to sentence-completion and whether expanding felon voting rights follows the
Constitution are contentious political issues in Minnesota. Restricting speech on
contentious political issues is always constitutionally suspect. Judge Brasel
categorized the speech in Minnesota Voters otherwise, but district judges are not
bound by other district judges’ decisions, even in “the same judicial district.” Reid
v. BCBSM, Inc., 111 F. Supp. 3d 966, 968 (D. Minn. 2015) (quoting Camreta v. Greene,
563 U.S. 692, 131 S.Ct. 2020, 2033 n.7 (2011)).

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its implied interest, let alone the narrow tailoring or the least restrictive alternative

that strict scrutiny demands of a content-based law. 281 Care Committee, 766 F.3d

at 785-96.

      281 Care Committee is directly on point. There, the court allowed First

Amendment claims to proceed against a Minnesota law that proscribed false

electoral speech. “Directly regulating what is said or distributed during an

election, as [§ 609.771] does, goes beyond an attempt to control the process to

enhance the fairness overall so as to carefully protect the right to vote.” Id. at 787.

Even if the abstract notion of elections free of misinformation represented a

compelling interest (281 Care Committee reserved the question, id.), like the 281 Care

Committee statute, § 609.771 is neither narrowly tailored to nor the least restrictive

means of achieving that interest. Id. at 787-96.

      281 Care Committee faulted the reviewed election-misinformation statute for

lacking any “empirical evidence” of harm and instead relying on “common sense

to establish that the use of false statements impacts voters’ understanding,

influences votes and ultimately changes elections.” Id. at 790. So too here; in the

legislature, when the bill’s sponsors were asked whether politically consequential

deepfakes have actually occurred, Rep. Stephenson admitted they have not in

Minnesota, and that the bill was “prophylactic”; likewise Sen. Maye Quade

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admitted that there were no “concrete real-world examples to point to—to say

here is an example of harm that was done with a deepfake” and explained that

“we’re trying to stop it from starting instead of addressing something that’s

currently happening—or, currently harming people in a broad way.” Complaint

¶¶ 41, 47. Prophylaxis doesn’t cut it. See, e.g., Alvarez, 567 U.S. at 726-27. The

government “must do more than simply posit the existence of the disease sought

to be cured; it must instead point to record evidence or legislative findings

demonstrating the need to address a special problem.” Ted Cruz for Senate, 596 U.S.

at 307.

      The defendants in 281 Care Committee argued (unsuccessfully) that a

knowing or reckless mens rea requirement provided the breathing space necessary

to protect free speech. Id. at 788. Section 609.771 uses this standard: “knows or acts

with reckless disregard about whether the item being disseminated is a deep fake,”

subd. 2, so fails for the same reason. The mens rea requirement offers even less

protection in the case of parody, because satirists like Kohls know their content is

not real—lampooning politicians with exaggerated caricatures is the entire

purpose of their message.

      Just as in 281 Care Committee, § 609.771 “perpetuate[s] the very fraud it is

allegedly designed to prohibit.” Id. at 789. It not only allows the Attorney General

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and other state officials to bring complaints, it allows speakers’ political

adversaries to do so. Minn. Stat. § 609.771 subd. 4(3)-(4). “Complaints can be filed

at a tactically calculated time so as to divert the attention of an entire campaign”

and inflict maximum “political damage.” 281 Care Committee, 766 F.3d at 790.

Simply put, the filing of a complaint itself inflicts the damage. Id. at 792. This

concern is more real than hypothetical for Rep. Franson, whose opponent in this

election cycle lives across the street from her, has previously dug through her trash

to post her cellphone number online, and has an interest in censoring political

speech judging by his recent arrest for stealing scores of political yard signs.

Complaint ¶ 34. The potential for abuse from § 609.771 is even greater than the 281

Care Committee “false statements” statute because convictions include the punitive

sanction of disqualification from office. § 609.771 subd. 3(3)(b)-(c).

      Finally, as in 281 Care Committee, there exists a less restrictive alternative to

government speech restraints: counterspeech. 766 F.3d at 793. Private fact checkers

already have “fact-checked” Kohls’s Harris video (Complaint ¶ 73), and there is

no reason why the state or a state agency could not engage in the same speech. See

infra at 39-40 (discussing the possibility of “public-information campaigns”).

“Especially as to political speech, counterspeech is the tried-and-true buffer and

elixir” to falsehood, not speech restriction. Id. at 793; Kohls, 2024 U.S. Dist. LEXIS

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at *3. Candidates themselves typically do this. The Harris campaign long ago

responded to Kohls’s July 26 video. 9 For truly egregious fakes that harm

someone’s reputation, longstanding tort law doctrines exist (defamation or false

light for example). “Other statutory causes of action such as privacy torts,

copyright infringement, or defamation already provide recourse to public figures

or private individuals whose reputations may be afflicted by artificially altered

depictions peddled by satirists or opportunists on the internet.” Kohls, 2024 U.S.

Dist. LEXIS 179933, at *14. Those regimes are often content-neutral; they do not

depend on the election-related content and purpose of the speech.

      281 Care Committee does not stand alone. On remand in SBA List, the Sixth

Circuit held that Ohio’s law against false political statements could not survive

strict scrutiny. 814 F.3d 466, 473-76 (6th Cir. 2016). Although the court recognized

that the general interest in election integrity is compelling, Ohio’s law against

speech was not narrowly tailored to that interest; “courts have consistently erred

on the side of permitting more political speech than less.” Id. at 476. So too in

Weaver v. Bonner, 309 F.3d 1312 (11th Cir. 2002). The Eleventh Circuit invalidated




      9
       Kamala Harris Campaign Reacts to Elon Musk Sharing Fake Ad About VP,
NEWSWEEK (Jul. 28, 2024), https://www.newsweek.com/kamala-harris-fake-
campaign-ad-elon-musk-1931222 [https://archive.ph/5xqWu].

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a judicial canon that punished even negligently false speech, which the state had

justified in part on its interest in electoral integrity. Id. at 1320. That stated interest

could not justify the “dramatic chilling effect” on political speech. Id. Again, the

Weaver court noted that counterspeech—not proscription—was the correct

solution: “The ability of an opposing candidate to correct negligent misstatements

with more speech more than offsets the danger of a misinformed electorate that

might result from tolerating negligent misstatements.” Id.

       “Free and fair elections” require “preserv[ing] an uninhibited marketplace

of ideas in which truth will ultimately prevail,” 10 not closing it to deepfakes that

the state deems too “realistic” and “made with the intent to injury a candidate or

influence the result of an election.” It is exactly for the sake of free and fair elections

that we must live with “misinformation” (which is often nothing more than

commentary or satire branded by self-interested politicians as “misinformation”).

“It is the citizenry that can discern for themselves what the truth is, not an ALJ

behind doors.” 281 Care Committee, 766 F.3d at 793.

       For these reasons, the State’s crackdown on Plaintiffs’ AI-generated political

speech lacks the necessary interest or tailoring to justify such a regulation.



       10
          X Corp. v. Bonta, __F.4th__, 2024 U.S. App. LEXIS 22456, at *18 (9th Cir.
Sept. 4, 2024) (quoting Coakley, 573 U.S. at 476)

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      C.     Section 609.771’s failure to define its material terms makes the law
             unconstitutionally vague and overbroad.

      To determine whether a law improperly regulates constitutionally protected

conduct, “a court should evaluate the ambiguous as well as the unambiguous

scope of the enactment.” Hoffman Estates v. Flipside, Hoffman Estates, 455 U.S. 489,

494 n.6 (1982). In the First Amendment context, the Constitution “demands a

greater degree of specificity than in other contexts.” Parents Defending Educ., 83

F.4th at 668 (internal quotation omitted). Vagueness can prevent a statute from

realizing the constitutionally-required narrow tailoring. Phelps-Roper v. Koster, 713

F.3d 942, 951 (8th Cir. 2013). Section 609.771 “‘relies on various subjective terms

and awkwardly-phrased mens rea,’ which has the effect of implicating vast

amounts of political and constitutionally protected speech.” Kohls, 2024 U.S. Dist.

LEXIS 179933, at *10.

      For example, in defining the “deep fakes” it seeks to proscribe, § 609.771

does not explain what might be meant by content “so realistic that a reasonable

person would believe it depicts speech or conduct of an individual who did not in

fact engage in such speech or conduct.” What is “so realistic” to one reasonable

person, is not at all realistic to another. Rob Weissman, co-president of Public

Citizen opined that “I’m certain that most people looking at it don’t assume it’s a



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joke…precisely because it feeds into preexisting themes that have circulated

around her, most people will believe it to be real.” Complaint ¶ 74. As a matter of

artistic sensibilities, this inquiry is “inherently subjective” and therefore

unconstitutionally vague. City of Chicago v. Morales, 527 U.S. 41, 62-64 (1999). Does

“realistic…speech” describe only Vice President Harris’s voice in Kohls’s satirical

ad (e.g., it sounds like her)? Or, does it describe the speech in the context of the

entire video (e.g., it sounds like Harris and this is something a reasonable person

believes she’d say)? The statute does not say.

      Next, consider what § 609.771 means when requiring proscribed content to

be “substantially dependent upon technical means.” Subd. 1(b)(2). The ambiguity

of this phrase is illustrated by Kohls’s Harris videos: While he uses AI-generated

“technical means” to imitate Harris’s voice, the graphic content is real and

borrowed from actual speeches. Is this type of video “substantially dependent

upon technical means” or not? Does “technical means” only apply to AI-generated

content, or does it further encompass technology like video editing or even cameras

used to capture real-life footage? One of the bill’s sponsors, Sen. Maye Quade,

appeared to believe that editing does not require “substantial technical means”

because “it just requires like a small editing tool on a computer,” and editing

supposedly did not fall within the definition because it literally “shows someone

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giving a speech they did in fact give, whether they edited it together a little

misleadingly or not.” 11 This response raises further questions: does altering the

background of a video or running it through an easy-to-use Snapchat filter involve

“substantial technical means”? What about assembling individual recorded words

of a candidate and stitching them together into a speech they never gave? Different

result if the Frankenstein’s-monster speech is smoothed over using audio

processing to sound realistically delivered? Does it depend on whether machine

learning was involved in creation? The amount of computer processing used?

Plaintiffs have no idea. Without further clarity, no limit exists to the scope of

content plausibly barred by § 609.771. 12

      Perhaps the most damning example of vagueness is § 609.771’s requirement

that the AI-generated content be “made with the intent to injure a candidate or




      11
       Minnesota Senate Media Services, Committee on Elections – 03/14/23,
YOUTUBE (at 1:27:33), https://www.youtube.com/live/eABxOrPeM2I?t=5381s.
      12
         At another hearing, Sen. Maye Quade remarked that the bill would not
criminalize Saturday Night Live because it carves out physical impersonations.
Complaint ¶ 46 (referring to § 609.771 subd. 1(c)(2), which excepts realistic fake
media made through “the ability of another individual to physically or verbally
impersonate such individual.”). Bully for SNL, but the fact that a well-known
political comedy avoids criminality only for technological reasons shows the
breathtaking sweep of the law. Physical impersonations can be quite realistic. See
SNOPES, Did Sarah Palin Say: ‘I Can See Russia from My House’? (Jan. 28, 2011),
https://www.snopes.com/fact-check/sarah-palin-russia-house/.

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influence the result of an election.” Subd. 2(2). What is the line between “injur[ing]

a candidate” and simply persuading someone to vote for someone else or pointing

out a perceived political flaw? Plaintiffs have no fair notice based on the statute.

What line exists between speech about any candidate and whether it “influenc[es]

the result of an election?” With American society as polarized as it is, any

information about any candidate is plausibly a line of attack. A generic Democrat

will tell you Trump’s call for a border wall harms his electoral prospects; a generic

Republican claims the opposite. The same concept applies to Harris’s recent “price

gouging” proposal, and so on. Kohls and Franson can invent some hysterical

policy by “Harris” that their followers will find laughable—imagine a video where

the voice of “Harris” announces that she will set the minimum wage to $50/hour—

but some voters might be more inclined vote for the AI-generated Harris

announcing them. 13




      13
         Defendants might argue that the ambiguity of “injure a candidate or
influence the result of an election” is not ambiguous because violators must have
that “intent”—whatever it is. The mens rea “intent” required does not save it from
unconstitutional vagueness because the object of that intent remains vague. See
Baggett v. Bullitt, 377 U.S. 360, 369 (1964) (“knowing” mens rea qualification did
not save statute from vagueness challenge); Cramp v. Bd. of Pub. Instruction, 368
U.S. 278, 286-87 (1961) (same).

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      Think of the intended audience for Kohls’s and Franson’s videos, too:

Plaintiffs know—based on their followers and engagements—that the people

watching these videos who vote are likely voting against Harris already. Do these

videos have any discernable “influence” on the election if their general audience’s

voting behavior is unlikely to change? Does the statute only apply to close

elections where the “result” might plausibly change?

      All these examples are classic terms of degree that “vest[] virtually complete

discretion in the hands of” those who bring suit against speakers, whether it be an

enforcement official like Defendants or a third party seeking injunctive or

equitable relief. Kolender v. Lawson, 461 U.S. 352, 358 (1983); see also Gentile v. State

Bar of Nevada, 501 U.S. 1030 (1991) (finding unconstitutionally vague the distinction

between “general” description and “with elaboration”). Due process does not

permit this.

      In the First Amendment context, the void-for-vagueness doctrine disallows

even the “real possibility” of “discriminatory enforcement”—the mere

“opportunity for abuse.” Gentile, 501 U.S. at 1051; Minn. Voters All. v. Mansky, 585

U.S. 1, 21 (2018) (internal quotation omitted). The discretion provided by § 609.771

is especially broad because the “enforcement officials” include not only the county

attorneys of Minnesota—who can bring criminal charges—but the political

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opponents of the speaker. Plaintiffs bear the cost of defending against such suits—

in time and in money—even if they’re ultimately victorious. 281 Care Committee,

766 F.3d at 792.

        Confusing, subjective, and broad language permeates § 609.771;

unconstitutional vagueness independently demands an injunction against it.


III.    Plaintiffs are irreparably harmed by § 609.771.

        “When an alleged deprivation of a constitutional right is involved, such as

the right to free speech [], most courts hold that no further showing of irreparable

injury is necessary.” 11A Wright & Miller, FEDERAL PRACTICE AND PROCEDURE

§ 2948.1 (3d ed. Apr. 2020 update). Both the Eighth Circuit and the Supreme Court

hold that the “loss of First Amendment freedoms, for even minimal periods of

time, unquestionably constitutes irreparable injury.” Iowa Right to Life Comm., Inc.

v. Williams, 187 F.3d 963, 970 (8th Cir. 1999) (quoting Elrod v. Burns, 427 U.S. 347,

373 (1976)). “[A]ny First Amendment infringement that occurs with each passing

day is irreparable.” Neb. Press Ass’n v. Stuart, 423 U.S. 1327, 1329 (1975). The “chill

on…free speech rights—even if it results from a threat of enforcement rather than

actual enforcement—constitutes irreparable harm.” Cuviello v. City of Vallejo, 944

F.3d 816, 833 (9th Cir. 2019).




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       Section 609.771 chills both Plaintiffs from creating, sharing, and receiving

desired political commentary. This is because (a) they and other speakers will

likely face suit and/or criminal liability for similar videos under § 609.771;

(b) they’ll bear costs to defend themselves against lawsuits aimed to deter or

prevent their political speech; (c) their videos likely breach YouTube and/or X’s

terms of service because the content is plausibly unlawful under § 609.771—as

Senator Klobuchar, an attorney, observed; (d) for the same reason, their content

could result in sanctions such as deplatforming or temporary suspensions by

YouTube or X; and, (e) Representative Franson risks forfeiture and permanent

disqualification for future office for sharing content barred by the law. This

chilling effect materially impedes Kohls’s ability to monetize his X and YouTube

accounts and, more importantly for the purposes of a preliminary injunction, it

inhibits both Plaintiffs from speaking their minds politically. While § 609.771 has

not yet been enforced, the threat of enforcement is clear and real.


IV.    The public interest and the balance of the equities weigh in favor of
       granting Plaintiffs’ preliminary injunction.

       The remaining two factors to be considered—the public interest and

whether other interested persons would be benefited or harmed by an

injunction—weigh in favor of granting Plaintiffs’ Motion. Courts considering


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preliminary injunctions “have consistently recognized the significant public

interest in upholding First Amendment principles.” Sammartano v. First Judicial

Dist. Court, 303 F.3d 959, 974 (9th Cir. 2002) (collecting cases and citing Iowa Right

to Life, 187 F.3d at 970). Section 609.771 deters the uninhibited political speech of

all Minnesotans and those trying to communicate with Minnesotans through its

regulation of AI-generated media. It is “always in the public interest [for the Court]

to prevent the violation of a party’s constitutional rights.” Bao Xiong ex rel. D.M. v.

Minn. State High Sch. League, 917 F.3d 994, 1004 (8th Cir. 2019).

      On the other side of the equation and as discussed above, supra II.B,

Minnesota lacks a valid interest in regulating Plaintiffs’ political speech to ensure

truthful elections, however noble a cause that may be. If Minnesota is truly

concerned about Plaintiffs’ creation and dissemination of videos and others like it

delegitimizing elections, then the antidote to that is the truth. “The response to the

unreasoned is the rational; to the uninformed, the enlightened; to the straight-out

lie, the simple truth.” Alvarez, 567 U.S. at 727 (Plurality Op. of Kennedy, J.). That

speech can be the government’s own, delivered through, for example, a “public-

information campaign.” Nat’l Inst. of Family & Life Advocates v. Becerra, 585 U.S. 755,

775 (2018). Minnesota may promote its own content that points out Plaintiffs’

videos are AI-generated; it might assign staff to issue responses like “this media is

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AI-generated,” to assist any Minnesota residents that might think otherwise. But

the government may not “co-opt” private parties to act as the mouthpiece of

politicians’ preferred message. “If there be a time to expose through discussion the

falsehood and fallacies, to avert the evil by the processes of education, the remedy

to be applied is more speech, not enforced silence.” Whitney, 274 U.S. at 377

(Brandeis, J., concurring).


V.    Plaintiffs should not be required to post a bond as normally required by
      Federal Rule 65(c).

      Federal Rule of Civil Procedure 65(c) invests the district court with the

discretion of security required, if any. Stockslager v. Carroll Elec. Cooperative Corp.,

528 F.2d 949, 951 (8th Cir. 1976). A bond is not appropriate or necessary here:

Plaintiffs have a high probability of success on the merits, the costs and damages

from granting a preliminary injunction are insignificant, Brooks v. Francis Howell

School District, 599 F.Supp.3d 795, 806 (E.D. Mo. 2022), and—most importantly—

Plaintiffs bring this claim to protect constitutional rights, both for themselves and

the people of Minnesota. Goyette, 338 F.R.D. at 120; Bukaka, Inc. v. County of Benton,

852 F. Supp. 807, 813 (D. Minn. 1993) (no bond because First Amendment rights

implicated). This is a public-interest case seeking declaratory and injunctive relief

and there is no risk of monetary loss to the Defendants from the injunction. Bukaka,


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Inc., 852 F. Supp. at 813; see also 11A Charles Alan Wright, et al., FEDERAL PRACTICE

AND PROCEDURE § 2954 (3d ed. 2020) (collecting cases).


                                  CONCLUSION

      Section 609.771 is not narrowly drawn, lacks a compelling interest, regulates

the truthfulness of political speech, and is unconstitutionally vague. Accordingly,

the law is unconstitutional and this Court—because of the irreparable harm to

Plaintiffs, the public interest in an injunction, and the equities weighing in

Plaintiffs’ favor—should enjoin Defendants from enforcing it in its entirety.




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Dated: October 11, 2024   Respectfully submitted,

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